            Case 6:23-bk-15661-SY                   Doc    Filed 07/16/24 Entered 07/16/24 14:52:11                             Desc Main
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Fill in this information to identify the case:

Debtor 1 Tara C Steele

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the: CENTRAL                    District of CALIFORNIA
                                                                             (State)

Case number 6:23-bk-15661-SY



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               DEUTSCHE BANK NATIONAL TRUST                       Court claim no. (if known)          2
                                COMPANY, AS TRUSTEE FOR
                                AMERICAN HOME MORTGAGE ASSETS
                                TRUST 2006-2, MORTGAGE-BACKED
                                PASS-THROUGH CERTIFICATES
                                SERIES 2006-2

Last four digits of any number you                 XXXXXX8415
use to identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                     Dates incurred                                 Amount

1.      Late charges                                                                                                            (1)    $          0.00
2.      Non-sufficient funds (NSF) fees                                                                                         (2)    $          0.00
3.      Attorney fees                                                                   1/29/2024,                              (3)    $        550.00
4.      Filing fees and court costs                                                                                             (4)    $          0.00
5.      Bankruptcy/Proof of claim fees                                                  7/29/2024,                              (5)    $        700.00
6.      Appraisal/Broker's price opinion fees                                                                                   (6)    $          0.00
7.      Property inspection fees                                                                                                (7)    $          0.00
8.      Tax advances (non-escrow)                                                                                               (8)    $          0.00
9.      Insurance advances (non-escrow)                                                                                         (9)    $          0.00

10. Property preservation expenses. Specify:          _____________                                                             (10)   $          0.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Tara C Steele                                                      Case number (if known)      6:23-bk-15661-SY
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Dane Exnowski                                                                      Date       07/16/2024
                 Signature

Print:           Dane                                                     Exnowski                     Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           562-661-5060                                           Email       Dane.Exnowski@mccalla.com




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                                 UNITED STATES BANKRUPTCY COURT
                              FOR THE CENTRAL DISTRICT OF CALIFORNIA


 In re:                                                                   )
                                                                          )      Case No. 6:23-bk-15661-SY
 Tara C Steele                                                            )      Chapter 13
                                                                          )
                                                                          )      JUDGE: SCOTT H. YUN


                                                                EXHIBIT B

                                                    ITEMIZATION OF CLAIM
 Attorney Fees                                                                                                                         $550.00

              01/29/2024                                         Preparation and Filing of                                $550.00
                                                                 Objection to Confirmation

 Bankruptcy/Proof of Claim Fees                                                                                                        $700.00

              07/29/2024                                         Preparation and Filing of Proof of                       $700.00
                                                                 Claim




  TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                   $1,250.00

 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
 U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
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                                                        Bankruptcy Case No.: 6:23-bk-15661-SY
  In Re:                                                Chapter:             13
           Tara C Steele                                Judge:               Scott H. Yun

                                     CERTIFICATE OF SERVICE

       I, Dane Exnowski, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
 Roswell, GA 30076, certify:

           That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I caused to be served a copy of the within NOTICE OF
 POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy
 matter on the following parties at the addresses shown, by regular United States Mail, with
 proper postage affixed, unless another manner of service is expressly indicated:

 Tara C Steele
 38055 Debby Lane
 Hemet, CA 92544-9795

 Benjamin Heston                                (Served via ECF at bhestonecf@gmail.com)
 Nexus Bankruptcy
 100 Bayview Circle #100
 Newport Beach, CA 92660

 Rod Danielson TR                               (Served via ECF Notification)
 3787 University Avenue
 Riverside, CA 92501

 United States Trustee (RS)                     (Served via ECF Notification)
 3801 University Avenue, Suite 720
 Riverside, CA 92501-3200

      I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
 AND CORRECT.

 Executed on:       07/16/2024       By:    /s/Dane Exnowski
                      (date)                Dane Exnowski
                                            Authorized Agent for Creditor
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